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                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 DARRYL CARTER,

       Plaintiff,                                  CIVIL ACTION FILE NO.

 v.                                                1:21-cv-04925-ELR

 ACTION WORLDWIDE                                  JURY TRIAL DEMANDED
 TRANSPORTATION, LLC,

       Defendant.

                                    COMPLAINT

      COMES NOW Plaintiff, Darryl Carter (“Plaintiff” or “Mr. Carter”), by and

through his undersigned counsel, The Kirby G. Smith Law Firm, LLC, and hereby

files this Complaint against Defendant Action Worldwide Transportation, LLC

(“Defendant” or “AWT”), stating as follows:

                                    I. PARTIES

1.    Plaintiff is a citizen of the United States and a resident of Henry County,

Georgia.

2.    Defendant is a domestic limited liability company registered to conduct

business in the State of Georgia.

3.    Defendant may be served through its registered agent, Ms. Tammy Carlisle,
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4350 N. Henry Boulevard, Stockbridge, Georgia 30281.

                        II. JURISDICTION AND VENUE

4.      This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331

over Count I of this Complaint, which arises out of the Fair Labor Standards Act,

29 U.S.C. § 201 et seq. (“FLSA”).

5.      This Court has jurisdiction over the parties of this action because a

substantial portion of the employment practices described herein took place in

Henry County, Georgia, within the Atlanta Division of the Northern District of

Georgia.

6.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391.

7.      Defendant’s employees, including Plaintiff, routinely handled or otherwise

worked on goods or materials that had been moved in interstate commerce.

8.      Defendant’s enterprise has an annual gross volume of sales of at least

$500,000.00.

9.      Defendant is subject to the requirements of the FLSA.

10.     Defendant is governed by and subject to the FLSA, 29 U.S.C. §204 and

§207.

                             III. FACTUAL ALLEGATIONS

11.     Plaintiff performed services as a Professional Chauffeur for Defendant from


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2014 until approximately July 16, 2021.

12.   Throughout his employment with Defendant, Plaintiff was misclassified as

an independent contractor.

13.   During all relevant time periods, Plaintiff was an employee of Defendant

pursuant to the FLSA.

14.   Plaintiff was given assignments by dispatchers of Defendant.

15.   Plaintiff was required to report assignment updates via a mobile application

to dispatchers (i.e., upon passenger pick up).

16.   Plaintiff wore a uniform in line with Defendant’s requirements.

17.   Plaintiff drove Defendant’s vehicles, bearing Defendant’s logos.

18.   Defendant’s vehicles were covered by Defendant’s insurance.

19.   Plaintiff’s services were integral to Defendant’s business.

20.   Plaintiff was paid on a commission-only basis by Defendant.

21.   Plaintiff was not paid an hourly rate for his work performed.

22.   Plaintiff was required to submit his weekly availability to Defendant and be

available for job assignments during that time.

23.   Based on Defendant’s required availability of Plaintiff, Plaintiff was

regularly on call for Defendant approximately twenty-one (21) hours per week or

forty-two (42) hours per pay period.


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24.    Plaintiff was “blacklisted” or otherwise not given jobs by Defendant

dispatchers if Plaintiff rejected a potential job assignment.

25.    Plaintiff was not paid minimum wage for hours he spent on call for

Defendant.

26.    Defendant knew or had reason to know that Plaintiff was available on call

specific hours each week and nonetheless paid him only commissions, which

equated to less than what minimum wage would have been at an hourly rate.

                            IV. CLAIMS FOR RELIEF

                            COUNT I:
          VIOLATIONS OF THE FAIR LABOR STANDARDS ACT

27.    Plaintiff incorporates by reference paragraphs 1-26 of his Complaint as if

fully set forth herein.

28.    Defendant was an employer under the FLSA. See Paras. 12-13.

29.    Plaintiff was a non-exempt employee of Defendant under the FLSA. See

Paras. 14-21.

30.    Plaintiff was regularly compelled and scheduled to work more than forty

hours per week. See Paras. 22-23.

31.    Plaintiff was on call twenty-one (21) hours per week on average for

Defendant. See Paras. 22-23.

32.    Plaintiff was not compensated with minimum wage at an hourly rate for his

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time on call. See Paras. 25-26.

33.       Plaintiff’s paid commissions did not meet the minimum wage threshold for

the hours Plaintiff spent on call for Defendant. See Paras. 25-26.

34.       Defendant has violated the FLSA, 29 U.S.C. §207, by failing to pay

minimum wage for time that Plaintiff was on call from December 1, 2019 through

July 16, 2021. See Paras. 25-26.

35.       As a result of Defendant’s unlawful acts, omissions, and practices, Plaintiff

suffered a loss of wages.

36.       Defendant’s willful violation of the FLSA shows reckless disregard of

Plaintiff’s right to receive appropriate minimum wage hourly compensation for his

work with Defendant. See Paras. 25-26.

                                 PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays that this Honorable Court grant the following

relief:

             a. Trial by jury;

             b. Enter judgment awarding Plaintiff unpaid wages pursuant to the

                FLSA, liquidated damages; pre-judgment interest on unpaid wages;

                court costs; expert witness fees; reasonable attorneys’ fees as provided

                by 29 U.S.C. §216; and all other remedies allowed under the FLSA;


                                            5.
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         c. Grant declaratory judgment declaring that Plaintiff’s rights have been

            violated and that Defendant violated the FLSA;

         d. For a judgment in Plaintiffs’ favor for breach of contract and fraud for

            all wages owed, compensatory damages, attorney fees, and litigation

            expenses;

         e. For punitive damages; and

         f. Any other relief this Court deems proper and just.

This 1st day of December, 2021.

                                             Respectfully submitted,

                                             The Kirby G. Smith Law Firm, LLC

                                             /s/Rachel B. Canfield
                                             Rachel B. Canfield
                                             Georgia Bar No. 488716
                                             Kirby G. Smith
                                             Georgia Bar No. 250119
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                                JURY DEMAND

     Plaintiff requests a jury trial on all questions of fact raised by this Complaint.

     This 1st day of December, 2021.



                                              Respectfully submitted,

                                              The Kirby G. Smith Law Firm, LLC

                                              /s/Rachel B. Canfield
                                              Rachel B. Canfield
                                              Georgia Bar No. 488716
                                              Kirby G. Smith
                                              Georgia Bar No. 250119

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                    FONT AND POINT CERTIFICATION

      The Undersigned counsel for Plaintiff certifies that the within and foregoing

COMPLAINT was prepared using Times New Roman, 14-point font in accordance

with LR 5.1(B).

This 1st day of December, 2021.



                                             Respectfully submitted,

                                             The Kirby G. Smith Law Firm, LLC

                                             /s/Rachel B. Canfield
                                             Rachel B. Canfield
                                             Georgia Bar No. 488716
                                             Kirby G. Smith
                                             Georgia Bar No. 250119

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